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Name and address:
               Jeffrey A. Koncius (State Bar No. 189803)
                             Kiesel Law LLP
                           8648 Wilshire Blvd.
                        Beverly Hills, CA 90211

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
PRNRX PROFESSIONAL PHARMACY INC., on behalf of itself
                                                                           CASE NUMBER
and all others similarly situated
                                         Plaintiff(s),                                               2:25-cv-01918

                  v.
GOODRX, INC.; GOODRX HOLDINGS, INC.; CVS                                       APPLICATION OF NON-RESIDENT ATTORNEY
CAREMARK CORP.; EXPRESS SCRIPTS, INC.; et al.                                        TO APPEAR IN A SPECIFIC CASE
                                           Defendant(s),                                    PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section II, and have the
    designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
    Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be
    grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
    Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Finley, Alec B.
Applicant's Name (Last Name, First Name & Middle Initial)                                         check here if federal government attorney
FINLEY PLLC
Firm/Agency Name
1455 Pennsylvania Avenue, NW                                           (281) 723-7904
Suite 400                                                              Telephone Number                       Fax Number
Street Address
Washington, D.C. 20004                                                                        bfinley@finley-pllc.com
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
PRNRX PROFESSIONAL PHARMACY INC.                                       ✖   Plaintiff(s)    Defendant(s)      Other:
                                                                           Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                           Date of Admission         Active Member in Good Standing? (if not, please explain)
State of New York, 1st Judicial Department                    4/20/2015            Yes
State of New Jersey                                           11/8/2014            Yes
District of Columbia                                          1/9/2017             Yes

G-64 (10/23)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                             Page 1 of 3
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              Appellate Division of the Supreme Court
                        of the State of New York
                       First Judicial Department


        I, Susanna M. Rojas, Clerk of the Appellate Division of the
   Supreme Court of the State of New York, First Judicial
   Department, do hereby certify that

                       Alec Blaine Finley, Jr.
   was duly licensed and admitted to practice as an Attorney and
   Counselor at Law in all the courts of this State on April 20, 2015,
   has duly taken and subscribed the oath of office prescribed by law,
   has been enrolled in the Roll of Attorneys and Counselors at Law
   on file in this office, is duly registered with the Office of Court
   Administration, and      according to the records of this Court is
   currently in good standing as an Attorney and Counselor-at-Law.



                               In Witness Whereof, I have hereunto set
                               my hand in the City of New York on
                               February 28, 2025.




                                           Clerk of the Court




   CertID-00217219
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     Supreme Court of New Jersey



         Certificate of Good Standing
        This is to certify that                  ALEC BLAINE FINLEY JR
 (No.      140482014         ) was constituted and appointed an Attorney at Law of New
 Jersey on                          November 08, 2014                       and, as such,
 has been admitted to practice before the Supreme Court and all other courts of this State
 as an Attorney at Law, according to its laws, rules, and customs.

        I further certify that as of this date, the above-named is an Attorney at Law in
 Good Standing. For the purpose of this Certificate, an attorney is in “Good Standing” if
 the Court’s records reflect that the attorney: 1) is current with all assessments imposed as a
 part of the filing of the annual Attorney Registration Statement, including, but not
 limited to, all obligations to the New Jersey Lawyers’ Fund for Client Protection; 2) is not
 suspended or disbarred from the practice of law; 3) has not resigned from the Bar of this
 State; and 4) has not been transferred to Disability Inactive status pursuant to Rule 1:20-
 12.

        Please note that this Certificate does not constitute confirmation of an attorney’s
 satisfaction of the administrative requirements of Rule 1:21-1(a) for eligibility to practice
 law in this State.
                                                    In testimony whereof, I have
                                                    hereunto set my hand and
                                                    affixed the Seal of the
                                                    Supreme Court, at Trenton, this
                                                    27th day of February, 2025.



                                                             Clerk of the Supreme Court
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             On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                             the District of Columbia Bar does hereby certify that



                              Alec Blaine Finley Jr.
           was duly qualified and admitted on January 9, 2017 as an attorney and counselor entitled to
            practice before this Court; and is, on the date indicated below, an Active member in good
                                                standing of this Bar.




                                                                                   In Testimony Whereof,
                                                                               I have hereunto subscribed my
                                                                              name and affixed the seal of this
                                                                                     Court at the City of
                                                                           Washington, D.C., on February 27, 2025.




                                                                                    JULIO A. CASTILLO
                                                                                     Clerk of the Court




                                                              Issued By:


                                                                                 David Chu - Director, Membership
                                                                                District of Columbia Bar Membership




      For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                          memberservices@dcbar.org.
